Case 1:24-cv-01862-SEB-TAB   Document 1-1   Filed 10/21/24   Page 1 of 21 PageID #:
                                      28




                  0123435ÿ7ÿ
Case 1:24-cv-01862-SEB-TAB         Document 1-1      Filed 10/21/24     Page 2 of 21 PageID #:
                                            29




 Source: https://www.genesislifestylemedicine.com/medical-weight-loss/tirzepatide/




 Source: https://www.genesislifestylemedicine.com/medical-weight-loss/tirzepatide/




 KE 115233935.1
Case 1:24-cv-01862-SEB-TAB         Document 1-1      Filed 10/21/24     Page 3 of 21 PageID #:
                                            30




 Source: https://www.genesislifestylemedicine.com/medical-weight-loss/tirzepatide/




 Source: https://www.genesislifestylemedicine.com/medical-weight-loss/tirzepatide/




 Source: https://www.genesislifestylemedicine.com/blog/what-is-tirzepatide-compounded-with-
 b12-and-how-can-you-get-it/.




                                               2
 KE 115233935.1
Case 1:24-cv-01862-SEB-TAB        Document 1-1      Filed 10/21/24    Page 4 of 21 PageID #:
                                           31




 Source: https://www.genesislifestylemedicine.com/blog/what-is-tirzepatide-compounded-with-
 b12-and-how-can-you-get-it/.




 Source: https://www.instagram.com/genesislifestylemedicine/




                                              3
 KE 115233935.1
          Case
10/17/24, 7:04 AM 1:24-cv-01862-SEB-TAB                   Document   1-1 | Genesis
                                                                Tirzepatide Filed Lifestyle
                                                                                   10/21/24 Medicine Page 5 of 21 PageID #:
                                                                     32
     Book Now                                                                                                          MENU
       BOOK NOW              WEIGHT LOSS                HORMONE THERAPY         HAIR         AESTHETICS        SEXUAL WELLNESS




     Tirzepatide
     HOME . MEDIC AL WEIGHT LOSS .
     TIRZEPATIDE




                                   Take Control of Your Weight
                       At Genesis Lifestyle Medicine, our medical experts are dedicated to giving their patients access to
                       the most recent weight control methods. We strive to provide you with accessible choices for the
                      most recent weight-loss medications such as Tirzepatide which can greatly help patients take control
                                                                of their weight.




https://www.genesislifestylemedicine.com/medical-weight-loss/tirzepatide/                                                    1/8
          Case
10/17/24, 7:04 AM 1:24-cv-01862-SEB-TAB                   Document   1-1 | Genesis
                                                                Tirzepatide Filed Lifestyle
                                                                                   10/21/24 Medicine Page 6 of 21 PageID #:
                                                                     33


                                                                                What is Tirzepatide
     Book Now                                                                                                          MENU
       BOOK NOW              WEIGHT LOSS                HORMONE THERAPY         HAIR         AESTHETICS        SEXUAL WELLNESS



                                                                                treatment?
                                                                                Tirzepatide is a comprehensive therapy for weight
                                                                                reduction that does not include any intrusive procedures
                                                                                and gives patients the ability to regain control of their
                                                                                weight. A once-weekly injectable called Tirzepatide also
                                                                                aids in controlling blood sugar levels. Although it is now
                                                                                used for people with type 2 diabetes, it also has potential
                                                                                as a weight-loss medication.

                                                                                This tested form of treatment including tirzepatide dosages
                                                                                were successful in lowering hemoglobin A1C levels and
                                                                                promoting weight reduction. Tirzepatide is designed to be
                                                                                used in conjunction with dietary, sleeping, and exercise
                                                                                improvements to lead a healthier lifestyle. The medicine is
                                                                                anticipated to function finest in conjunction with coaching
                                                                                and guidance from qualified specialists such as the ones
                                                                                at our clinic.




 How does Tirzepatide work?



https://www.genesislifestylemedicine.com/medical-weight-loss/tirzepatide/                                                                2/8
          Case
10/17/24, 7:04 AM 1:24-cv-01862-SEB-TAB                   Document   1-1 | Genesis
                                                                Tirzepatide Filed Lifestyle
                                                                                   10/21/24 Medicine Page 7 of 21 PageID #:
                                                                     34
     Book Now                                                                                                          MENU
       BOOK NOW              WEIGHT LOSS                HORMONE THERAPY         HAIR         AESTHETICS        SEXUAL WELLNESS




https://www.genesislifestylemedicine.com/medical-weight-loss/tirzepatide/                                                    3/8
          Case
10/17/24, 7:04 AM 1:24-cv-01862-SEB-TAB                   Document   1-1 | Genesis
                                                                Tirzepatide Filed Lifestyle
                                                                                   10/21/24 Medicine Page 8 of 21 PageID #:
                                                                     35
     Book Now                                                                                                          MENU
       BOOK NOW              WEIGHT LOSS                HORMONE THERAPY         HAIR         AESTHETICS        SEXUAL WELLNESS




                                               All about Tirzepatide




https://www.genesislifestylemedicine.com/medical-weight-loss/tirzepatide/                                                    4/8
          Case
10/17/24, 7:04 AM 1:24-cv-01862-SEB-TAB                   Document   1-1 | Genesis
                                                                Tirzepatide Filed Lifestyle
                                                                                   10/21/24 Medicine Page 9 of 21 PageID #:
                                                                     36
     Book Now                                                                                                          MENU
       BOOK NOW              WEIGHT LOSS                HORMONE THERAPY         HAIR         AESTHETICS        SEXUAL WELLNESS




 Candidates for Tirzepatide treatments
 Do your weight-related health issues affect you? Prescription weight loss medications can be a possibility for you if you are having
 trouble losing weight while following a healthy diet and exercising regularly. Adults who struggle with obesity, diabetes, or high blood
 pressure who have a body mass index of higher than 30, are normally perfect candidates for this type of treatment.




https://www.genesislifestylemedicine.com/medical-weight-loss/tirzepatide/                                                                   5/8
           Case
10/17/24, 7:04 AM 1:24-cv-01862-SEB-TAB                    Document  1-1 | Genesis
                                                                Tirzepatide FiledLifestyle
                                                                                   10/21/24Medicine Page 10 of 21 PageID
                                                                   #: 37
     Book Now                                                                                                        MENU
       BOOK NOW              WEIGHT LOSS                HORMONE THERAPY         HAIR        AESTHETICS       SEXUAL WELLNESS




 *All patients have the option to obtain a prescription for the Brand Name medications listed on this page to be called in at the pharmacy
 of their choice. Please note a prescription for the Brand Name medications does not guarantee your insurance will cover this medication.
 All patients will be charged a monthly weight management fee for this service.




https://www.genesislifestylemedicine.com/medical-weight-loss/tirzepatide/                                                               6/8
           Case
10/17/24, 7:04 AM 1:24-cv-01862-SEB-TAB                    Document  1-1 | Genesis
                                                                Tirzepatide FiledLifestyle
                                                                                   10/21/24Medicine Page 11 of 21 PageID
                                                                   #: 38
     Book Now                                                                                                        MENU
       BOOK NOW              WEIGHT LOSS                HORMONE THERAPY         HAIR        AESTHETICS       SEXUAL WELLNESS




                                        Start Your Journey Today
                                                              73 LOCATIONS
                                                                            BOOK NOW




                                              Medical Weight        Hormone            Hair              Aesthetic
                                              Loss                  Therapy            Restoration       Services
                                                                                                                          Microneedling
                                              Appetite              Testosterone       PRP Hair          Injectables
                                              Suppressants          Therapy            Restoration                        Medical-Grade
                                                                                                         Botox            Skin Care
                                              Ideal Protein         Women's            Finasteride
                                              Diet                  Hormone                              Dermal Fillers   Vampire Facial
                                                                    Therapy            Follicular Unit
                                              Vitamin Booster                          Extraction        Kybella          CoolSculpting
                                              Injections            Growth
                                                                    Hormone                              Skin             CoolTone
       GET                                                          Optimization
                                                                                                         Chemical Peels   Laser Hair
     STARTED                                                                                                              Removal

      TODAY


https://www.genesislifestylemedicine.com/medical-weight-loss/tirzepatide/                                                                  7/8
           Case
10/17/24, 7:04 AM 1:24-cv-01862-SEB-TAB              Document   1-1 | Genesis
                                                           Tirzepatide FiledLifestyle
                                                                              10/21/24Medicine Page 12 of 21 PageID
                                                              #: 39
                                        Sexual Wellness Health Tests                                        Pre & Post Care
     Book Now G E T                                                                                              MENU
       B O O SK T ANROT WE D   WEIGHT LOSS      HORMONE THERAPY            HAIR        AESTHETICS       SEXUAL WELLNESS
                                              Men                   Shop Hormone
                                                                    Tests
                                              Women
                                                                    Shop
                                                                    Testosterone
                                                                    Tests

                                                                    Shop Insulin &
                                                                    Thyroid Labs




     © Genesis Lifestyle Medicine. All                                               Privacy Policy | Zenoti’s Privacy |
     Rights Reserved. Web Design &                                                                         Genesis Labs
     Internet Marketing: S3E, Digital
     Marketing Company Los Angeles




https://www.genesislifestylemedicine.com/medical-weight-loss/tirzepatide/                                                  8/8
           Case
10/17/24, 8:55 AM 1:24-cv-01862-SEB-TAB WhatDocument        1-1 Filed
                                             Is Tirzepatide Compounded With10/21/24       Page
                                                                           B12, And How Can      13It?of 21 PageID
                                                                                            You Get
                                                                         #: 40
     Book Now                                                                                                                 MENU
       BOOK NOW              WEIGHT LOSS              HORMONE THERAPY                    HAIR        AESTHETICS        SEXUAL WELLNESS




     What Is Tirzepatide
     Co m p o u n d e d W i t h B 12 , A n d
     How Can You Get It?
     H O M E . B LO G . W H A T I S T I R Z E PA T I D E C O M P O U N D E D W I T H B 12 A N D H O W C A N Y O U G E T I T




 P U B L I S H E D O C T 17, 2 0 2 4


 WHAT IS TIRZEPATIDE COMPOUNDED WITH B12, AND HOW CAN
 YOU GET IT?


                                                                                                                  CATEGORIES
                                                                                                                  Weight Loss


                                                                                                                  Hormone Therapy


                                                                                                                  Testosterone Therapy

https://www.genesislifestylemedicine.com/blog/what-is-tirzepatide-compounded-with-b12-and-how-can-you-get-it/                            1/9
           Case
10/17/24, 8:55 AM 1:24-cv-01862-SEB-TAB WhatDocument        1-1 Filed
                                             Is Tirzepatide Compounded With10/21/24       Page
                                                                           B12, And How Can      14It?of 21 PageID
                                                                                            You Get
                                                                         #: 41
     Book Now                                                                                                     Peptide Therapy MENU
       BOOK NOW              WEIGHT LOSS              HORMONE THERAPY                    HAIR        AESTHETICS           SEXUAL WELLNESS

                                                                                                                  Hair Restoration


                                                                                                                  Sexual Health


                                                                                                                  Botox/Filler


                                                                                                                  Coolsculpting


                                                                                                                  Laser Hair Removal


                                                                                                                  Blood Work
     At Genesis Lifestyle Medicine, we prioritize your wellness and provide
     innovative solutions that address your health concerns holistically. One such                                Skin Care

     cutting-edge treatment is Tirzepatide compounded with B12. In this article,
                                                                                                                  Fitness
     we explore what Tirzepatide is, the benefits of combining it with B12, and
     how you can access this treatment to support your weight loss goals.                                         Exercise
     Tirzepatide: a groundbreaking weight loss solution
                                                                                                                  Diets
     Tirzepatide is an exciting development in the field of weight management
     and diabetes care. It is a dual glucose-dependent insulinotropic polypeptide                                 Supplements
     (GIP) and glucagon-like peptide-1 (GLP-1) receptor agonist. This means that
     Tirzepatide acts on both GIP and GLP-1 receptors in your body to regulate                                    Joint Pain
     blood sugar levels and promote weight loss. By mimicking the effects of
     these naturally occurring hormones, Tirzepatide helps to:                                                    Neuropathy


                 Reduce Appetite: Tirzepatide signals your brain to feel full,
                 which helps curb overeating. When you feel satiated, you are less
                 likely to consume excess calories, making it easier to stick to a
                 calorie deficit for weight loss.



https://www.genesislifestylemedicine.com/blog/what-is-tirzepatide-compounded-with-b12-and-how-can-you-get-it/                            2/9
           Case
10/17/24, 8:55 AM 1:24-cv-01862-SEB-TAB WhatDocument        1-1 Filed
                                             Is Tirzepatide Compounded With10/21/24       Page
                                                                           B12, And How Can      15It?of 21 PageID
                                                                                            You Get
                                                                         #: 42
     Book Now    Control Blood Sugar Levels: It enhances insulin secretion and                                           MENU
       BOOK NOW              WEIGHT LOSS              HORMONE THERAPY                    HAIR        AESTHETICS   SEXUAL WELLNESS
                 inhibits glucagon release, leading to better blood sugar
                 management. Maintaining stable blood sugar levels is crucial for
                 overall health and can help prevent complications related to
                 diabetes.

                 Promote Weight Loss: Tirzepatide aids in weight reduction by
                 reducing calorie intake and improving metabolic processes. This
                 dual mechanism of action makes it a potent tool in combating
                 obesity and supporting sustainable weight loss.

     The benefits of Tirzepatide:

                 Significant Weight Loss: Studies have demonstrated that
                 individuals using Tirzepatide can achieve substantial weight loss
                 compared to traditional treatments. In clinical trials, participants
                 lost an average of 15% to 20% of their body weight, which is a
                 significant reduction that can greatly improve overall health.

                 Improved Glycemic Control: Tirzepatide helps in lowering
                 blood sugar levels, which is particularly beneficial for those with
                 type 2 diabetes. By improving insulin sensitivity and reducing
                 insulin resistance, it helps manage diabetes more effectively.

                 Cardiovascular Health: The medication has shown potential
                 benefits in reducing cardiovascular risks associated with obesity
                 and diabetes. Weight loss and better blood sugar control can
                 lower the risk of heart disease, hypertension, and stroke.




https://www.genesislifestylemedicine.com/blog/what-is-tirzepatide-compounded-with-b12-and-how-can-you-get-it/                   3/9
           Case
10/17/24, 8:55 AM 1:24-cv-01862-SEB-TAB WhatDocument        1-1 Filed
                                             Is Tirzepatide Compounded With10/21/24       Page
                                                                           B12, And How Can      16It?of 21 PageID
                                                                                            You Get
                                                                         #: 43
     Book Now                                                                                                            MENU
       BOOK NOW              WEIGHT LOSS              HORMONE THERAPY                    HAIR        AESTHETICS   SEXUAL WELLNESS




     The role of B12 in weight management
     Vitamin B12, also known as cobalamin, is an essential nutrient that plays a
     crucial role in various bodily functions, including:

                 Energy Production: B12 is vital for the conversion of food into
                 energy, helping you stay active and alert. It is involved in the
                 metabolism of every cell in the body, particularly affecting DNA
                 synthesis and fatty acid and amino acid metabolism.

                 Red Blood Cell Formation: It aids in the production of
                 healthy red blood cells, prevents anemia, and ensures efficient
                 oxygen transport. Adequate oxygen transport is essential for all
                 bodily functions, including maintaining energy levels and
                 supporting physical activity.

                 Nervous System Health: B12 supports the maintenance of a
                 healthy nervous system, promoting cognitive function and reducing
                 the risk of neurological disorders. It is crucial for the production of
                 myelin, a protective coating around nerves, which maintains nerve
                 function.

     The benefits of B12 for weight loss:



https://www.genesislifestylemedicine.com/blog/what-is-tirzepatide-compounded-with-b12-and-how-can-you-get-it/                   4/9
           Case
10/17/24, 8:55 AM 1:24-cv-01862-SEB-TAB WhatDocument        1-1 Filed
                                             Is Tirzepatide Compounded With10/21/24       Page
                                                                           B12, And How Can      17It?of 21 PageID
                                                                                            You Get
                                                                         #: 44
     Book Now    Boost Metabolism: By enhancing metabolic processes, B12                                                 MENU
       BOOK NOW              WEIGHT LOSS              HORMONE THERAPY                    HAIR        AESTHETICS   SEXUAL WELLNESS
                 helps your body burn calories more efficiently. A higher metabolic
                 rate means your body is more effective at converting food into
                 energy rather than storing it as fat.

                 Increase Energy Levels: Higher energy levels can lead to more
                 physical activity, contributing to weight loss. Feeling more
                 energetic can motivate you to engage in regular exercise, which is
                 a critical component of a successful weight loss plan.

                 Support Muscle Function: B12 is essential for muscle function
                 and recovery, aiding in the maintenance of lean muscle mass
                 during weight loss. Preserving muscle mass is important for
                 maintaining a healthy metabolism and preventing weight regain.




     The synergy of Tirzepatide compounded with B12
     Combining Tirzepatide with B12 creates a powerful synergy that enhances
     the benefits of both compounds. This combination offers a holistic approach
     to weight management by addressing multiple aspects of your health:

                 Enhanced Weight Loss: The appetite-suppressing effects of
                 Tirzepatide, coupled with the metabolic boost from B12, lead to
                 more effective weight loss. This dual approach helps you achieve
                 and maintain a healthier weight more efficiently.
https://www.genesislifestylemedicine.com/blog/what-is-tirzepatide-compounded-with-b12-and-how-can-you-get-it/                   5/9
           Case
10/17/24, 8:55 AM 1:24-cv-01862-SEB-TAB WhatDocument        1-1 Filed
                                             Is Tirzepatide Compounded With10/21/24       Page
                                                                           B12, And How Can      18It?of 21 PageID
                                                                                            You Get
                                                                         #: 45
     Book Now    Improved Energy Levels: B12 ensures you have the energy                                                 MENU
       BOOK NOW              WEIGHT LOSS              HORMONE THERAPY                    HAIR        AESTHETICS   SEXUAL WELLNESS
                 needed to stay active and motivated throughout your weight loss
                 journey. This can make it easier to adhere to an exercise routine
                 and stay engaged in physical activities.

                 Better Metabolic Health: The combination helps regulate
                 blood sugar levels and supports metabolic health, reducing the
                 risk of diabetes and other metabolic disorders. Improved metabolic
                 health is key to long-term weight management and overall well-
                 being.

     How does the combination work?
     Tirzepatide works by mimicking the effects of GLP-1 and GIP, which play key
     roles in regulating appetite, insulin secretion, and glucose metabolism.
     When compounded with B12, the treatment not only targets these pathways
     but also provides the added benefits of B12, such as increased energy
     production and improved metabolism. This dual-action approach maximizes
     the efficacy of weight loss and metabolic health management.




     Accessing Tirzepatide compounded with B12 at Genesis
     Lifestyle Medicine
     At Genesis Lifestyle Medicine, we are committed to providing personalized
     care that meets your unique health needs. Our team of experienced
     healthcare professionals will work with you to develop a comprehensive
https://www.genesislifestylemedicine.com/blog/what-is-tirzepatide-compounded-with-b12-and-how-can-you-get-it/                   6/9
           Case
10/17/24, 8:55 AM 1:24-cv-01862-SEB-TAB WhatDocument        1-1 Filed
                                             Is Tirzepatide Compounded With10/21/24       Page
                                                                           B12, And How Can      19It?of 21 PageID
                                                                                            You Get
                                                                         #: 46
     weight
     Book Now loss plan that includes Tirzepatide compounded with B12, tailored to                                       MENU
       BOOK NOW            WEIGHT LOSS
     your  specific goals and  health conditions.H O R M O N E T H E R A P Y H A I R                 AESTHETICS   SEXUAL WELLNESS


     How to obtain Tirzepatide compounded with B12:
                 Consultation: Schedule an appointment with one of our
                 healthcare professionals. We offer both in-person and virtual
                 consultations to accommodate your schedule and preferences.

                 Evaluation: Undergo an evaluation to determine if Tirzepatide
                 with B12 is right for you. This may include a physical
                 examination, blood tests, and a review of your medical history.

                 Prescription: If deemed appropriate, you will receive a
                 prescription for the compounded medication. Our team will ensure
                 you understand how to use the medication.

                 Compounding Pharmacy: We work with reputable
                 compounding pharmacies to ensure the highest quality and
                 efficacy of your medication. The pharmacy will prepare the
                 medication according to the specific prescription tailored to your
                 needs.

                 Ongoing Care: Continue to receive ongoing care and support
                 from our team to maximize the benefits of your treatment.
                 Regular check-ins will help us monitor your progress and make
                 any necessary adjustments to your plan.

     At Genesis Lifestyle Medicine, we are dedicated to providing you with the
     best possible care and support on your wellness journey. Our holistic
     approach ensures that all aspects of your health are addressed, giving you
     the best chance for success. If you are ready to take control of your health


https://www.genesislifestylemedicine.com/blog/what-is-tirzepatide-compounded-with-b12-and-how-can-you-get-it/                   7/9
           Case
10/17/24, 8:55 AM 1:24-cv-01862-SEB-TAB WhatDocument        1-1 Filed
                                             Is Tirzepatide Compounded With10/21/24       Page
                                                                           B12, And How Can      20It?of 21 PageID
                                                                                            You Get
                                                                         #: 47
     and  explore the benefits of Tirzepatide compounded with B12, contact us
     Book Now                                                                                                                        MENU
       BOOK NOW          WEIGHT LOSS            HORMONE THERAPY            HAIR                       AESTHETICS              SEXUAL WELLNESS
     today  to schedule your consultation and unlock the best version of yourself.




     BACK TO BLOG




                                       Start Your Journey Today
                                                            73 LOCATIONS
                                                                       BOOK NOW




                                             Medical Weight       Hormone               Hair                    Aesthetic
                                             Loss                 Therapy               Restoration             Services
                                                                                                                                 Microneedling
                                             Appetite             Testosterone          PRP Hair                Injectables
                                             Suppressants         Therapy               Restoration                              Medical-Grade
                                                                                                                Botox            Skin Care
                                                                                        Finasteride
https://www.genesislifestylemedicine.com/blog/what-is-tirzepatide-compounded-with-b12-and-how-can-you-get-it/                                    8/9
           Case
10/17/24, 8:55 AM 1:24-cv-01862-SEB-TAB WhatDocument        1-1 Filed
                                             Is Tirzepatide Compounded With10/21/24       Page
                                                                           B12, And How Can      21It?of 21 PageID
                                                                                            You Get
                                                                       #: 48
                                             Ideal Protein       Women's                Follicular Unit  Dermal Fillers     Vampire Facial
     Book Now                                                                                                                    MENU
       BOOK NOW              W E I G H T L O Diet
                                              SS      H O R M O NHormone
                                                                  E THERAPY             Extraction
                                                                                         HAIR        AESTHETICS         SEXUAL WELLNESS
                                                                 Therapy                                 Kybella            CoolSculpting
                                             Vitamin Booster
                                             Injections          Growth                                         Skin             CoolTone
       GET                                                       Hormone
                                                                 Optimization                                   Chemical Peels   Laser Hair
     STARTED                                                                                                                     Removal

      TODAY

               GET
             STARTED                         Sexual Wellness      Health Tests                                                   Pre & Post Care
                                             Men                  Shop Hormone
                                                                  Tests
                                             Women
                                                                  Shop
                                                                  Testosterone
                                                                  Tests
                                                                  Shop Insulin &
                                                                  Thyroid Labs




     © Genesis Lifestyle Medicine. All                                                    Privacy Policy | Zenoti’s Privacy |
     Rights Reserved. Web Design &                                                                              Genesis Labs
     Internet Marketing: S3E, Digital
     Marketing Company Los Angeles




https://www.genesislifestylemedicine.com/blog/what-is-tirzepatide-compounded-with-b12-and-how-can-you-get-it/                                      9/9
